             IN THE UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF GEORGIA
                       ATLANTA DIVISION

DONNA CURLING, et al.

       Plaintiffs,
                                                CIVIL ACTION
       v.
                                                FILE NO. 1:17-CV-2989-AT
BRAD RAFFENSPERGER, et al,

       Defendants.


 STATE DEFENDANTS’ CONSOLIDATED MOTION FOR LEAVE TO
    FILE MATTERS UNDER SEAL AND BRIEF IN SUPPORT

      Defendants Secretary Raffensperger, the State Election Board, and

State Election Board Members Rebecca Sullivan and David Worley

(collectively, “State Defendants”) move this Court for leave to file [Doc. 939]

under seal. For the reasons stated herein, State Defendants request the

Court grant this Motion and order [Doc. 939] sealed.

      As stated in State Defendants Notice of Filing Regarding Voting

System Test Laboratory Report and EAC Submission, [Doc. 938], State

Defendants sought to expeditiously file the requested documentation with the

Court and filed the matter under seal for that purpose. With the benefit of

time for counsel to confer with our client and nonparty Dominion Voting

Systems, State Defendants have determined that only a portion of the
document filed at [Doc. 939] need be sealed. Defendants have now filed an

appropriately redacted document in the docket and request this Court order

the unredacted document sealed.

             ARGUMENT AND CITATION TO AUTHORITY

I.    Legal standard for sealing the docket entry.

      “It is uncontested” that the public’s “right to inspect and copy judicial

records is not absolute.” Nixon v. Warner Communications, Inc., 435 U.S. 589,

598 (1978). Accordingly, sealing sensitive documents is warranted upon a

showing of “good cause.” Romero v. Drummond Co., Inc., 480 F.3d 1234, 1246

(11th Cir. 2007). In determining whether good cause exists to support

sealing, courts are instructed to consider: “whether allowing access would

impair court functions or harm legitimate privacy interests, the degree of and

likelihood of injury if made public, the reliability of the information, whether

there will be an opportunity to respond to the information, whether the

information concerns public officials or public concerns, and the availability

of a less onerous alternative to sealing the documents.” Romero, 480 F.3d at

1246; see also Local Rules at App. H. § II(J) (incorporating these factors).

      In addition, right-to-access considerations are weaker with respect to

pre-trial motions. See Syngenta Crop Protection, LLC v. Willowood, LLC,




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2017 WL 6001818, at *2 (M.N.C. Dec. 4, 2017) (civil trial is where public’s

interest in access “is almost at its peak”).

II.   Good cause exists for sealing the docket entry.

      By docket entry dated September 28, 2020, this Court ordered, sua

sponte, that State Defendants file the “evaluation results and documentation

of testing procedures” related to the software update deployed for the

Dominion BMDs. State Defendants subsequently filed a letter brief

explaining the software update and acceptance testing. [Doc. 924]. The Court,

again by docket entry dated September 30, 2020, requested “an explanation .

. . of the State Defendants’ filing of information responsive to the Court’s text

order of September 28, 2020” be filed by 5:15 PM the same day. While noting

and preserving their objections to the request, State Defendants complied

and filed an explanation, informing the Court that the documentation sought

was not yet available but that the State Defendants would subsequently file

such when it became available. [Doc. 929]. Subject to those objections, the

State Defendants filed the requested documentation provisionally under seal

as soon as it became available. [Doc. 939]. After an opportunity to confer,

State Defendants have now submitted the same document publicly, redacting

only the hash value of the software update.




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      State Defendants contend that the hash value contained in the letter

report (and redacted in the publicly filed version) is information that would

create a threat to the ongoing security of the State’s voting system if publicly

disclosed. See [Doc. 477 at 5 (protective order)]. As the Court is aware, a hash

value comparison is one way in which the Secretary and county officials

confirm the software update is the same trusted version as tested by the

State’s Voting System Test Laboratory, Pro V&V, and produced (and tested)

by the voting system vendor, Dominion. See generally [Doc. 924]. As State

Defendants explained there: “Plaintiffs have claimed that malware could

trick the hash value into matching, to do so would require knowledge of the

update’s hash value before it could be ‘spoofed’ and further ignores that the

hash value can be verified outside of the system itself.” Id. at 2. Accordingly,

disclosure of that hash value (particularly when coupled with information

recklessly filed into the record by Plaintiffs, e.g. [Doc. 928-1]) could jeopardize

security of the voting system by providing an avenue for an attacker to

“spoof” the hash value of software that is not authentic.

      Finally, since the document at issue has now been filed in redacted

form, [Doc. 948], the public’s interest in accessing the information has been

appropriately preserved. For these reasons, good cause exists for treating the

redacted hash value as Attorneys’ Eyes Only material, pursuant to the

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protective order entered in this case, and sealing the unredacted document

filed at [Doc. 939]. A proposed order to that effect is attached hereto.

                                CONCLUSION

      Good cause having been shown, State Defendants’ Motion for leave to

file [Doc. 939] under seal should be granted.

      Respectfully submitted this 5th day of October, 2020.


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                   CERTIFICATE OF COMPLIANCE

     I hereby certify that the foregoing STATE DEFENDANTS’

CONSOLIDATED MOTION FOR LEAVE TO FILE MATTERS UNDER

SEAL AND BRIEF IN SUPPORT was prepared double-spaced in 13-point

Century Schoolbook pursuant to Local Rule 5.1(C).


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